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12
13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14                                   SAN JOSE DIVISION

15
      In re Google RTB Consumer Privacy                No. 4:21-cv-02155-YGR-VKD
16    Litigation,
                                                       PLAINTIFFS’ ADMINISTRATIVE
17                                                     MOTION TO CONSIDER WHETHER
      This Document relates to: all actions.           ANOTHER PARTY’S MATERIALS
18                                                     SHOULD BE SEALED
19
                                                       [Civil L.R. 7-11, 79-5(f)]
20
                                                       Judge: Hon. Virginia K. DeMarchi
21                                                     Date: May 28, 2024
                                                       Time: 10:00 a.m.
22                                                     Courtroom: 2, Fifth Floor
23
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     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
     PARTY’S MATERIALS SHOULD BE SEALED
                                                      -1-                       4:21-cv-02155-YGR -VKD
 1 I.       INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5(f), plaintiffs hereby respectfully submit this

 3 Administrative Motion to Consider Whether Another Party’s (Defendant Google’s) Materials
 4 Should Be Sealed. Plaintiffs have redacted and filed conditionally under seal portions of (i)
 5 Plaintiffs’ Notice of Motion and Motion for Contempt and Spoliation Sanctions re: Named Plaintiff
 6 Data, (ii) Declaration of Jonathan K. Levine in Support of Plaintiffs’ Motion for Contempt and
 7 Spoliation Sanctions re: Named Plaintiff Data, (iii) Exhibit A to the Levine Declaration (excerpts
 8 from the 30(b)(6) deposition testimony of Google), and (iv) Proposed Order Granting Plaintiffs’
 9 Motion for Contempt and Spoliation Sanctions re: Named Plaintiff Data, because these filings quote
10 from or summarize documents, information, or testimony that Google has designated “Confidential”

11 or “Highly Confidential – Attorneys’ Eyes Only” pursuant to the protective order in this case (ECF
12 No. 59) and that this Court has previously sealed in some instances. See May 16, 2023 Order re
13 Account Identifiers and Further Production of Named Plaintiffs’ Data (“May 16 Order”) (ECFs 510,

14 524).
15          The specific portions of the filings that plaintiffs respectfully request be conditionally

16 redacted or sealed at this time, subject to a motion by Google, are:
17              •   Portions of pages i, 1-3, 5-12, and 14-17 of Plaintiffs’ Notice of Motion and Motion

18                  for Contempt and Spoliation Sanctions re: Named Plaintiff Data

19              •   Portions of pages 1-4 of the Declaration of Jonathan K. Levine in Support of

20                  Plaintiffs’ Motion for Contempt and Spoliation Sanctions re: Named Plaintiff Data

21              •   Portions of pages 12-13, 15, 89, 223-26, and 237-38 of Exhibit A to the Declaration

22                  of Jonathan K. Levine in Support of Plaintiffs’ Motion for Contempt and Spoliation

23                  Sanctions re: Named Plaintiff Data

24              •   Portions of pages 1-7 of the Proposed Order Granting Plaintiffs’ Motion for

25                  Contempt and Spoliation Sanctions re: Named Plaintiff Data

26          Unsealed and unredacted versions of these documents are lodged under seal with the

27 Declaration of Jonathan K. Levine filed herewith. Plaintiffs, though not the Designating Party, also
28 submit a proposed order herewith.

     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
     PARTY’S MATERIALS SHOULD BE SEALED
                                                     -2-                       4:21-cv-02155-YGR -VKD
 1 II.      ARGUMENT
 2          Materials and documents may be filed conditionally under seal pursuant to Civil Local Rule

 3 79-5 when the document, or portions thereof, are privileged, protectable as a trade secret, or
 4 otherwise entitled to protection under the law, if the request minimizes the information sought to be

 5 sealed from public view and is and narrowly tailored. See L.R. 79-5(a),(c)(3). Plaintiffs’ request
 6 seeks to conditionally seal language in the above-described filings that quote from or summarize
 7 documents, information, or testimony that Google has designated “Confidential” or “Highly
 8 Confidential – Attorneys’ Eyes Only” pursuant to the protective order in this case (ECF No. 59) and
 9 that this Court has previously sealed in some instances. See May 16, 2023 Order re Account
10 Identifiers and Further Production of Named Plaintiffs’ Data (“May 16 Order”) (ECFs 510, 524).
11          This information is relevant to the parties’ dispute, and the request to seal cannot be more

12 narrowly drawn by plaintiffs without the consent of Google. Plaintiffs seek this relief in good faith
13 in order to comply with Google’s designations and the protective order.
14          Civil L.R. 79-5(f)(3) imposes additional requirements on the “Designating Party,”

15 Defendant Google. Plaintiffs do not agree that the conditionally-redacted information be
16 permanently sealed from public view, other than that plaintiffs wish to comply with the protective

17 order and this Court’s prior guidance.
18 II.      NOTICE OF LODGING

19          Plaintiffs will lodge with the Court, and serve on counsel for Defendant Google, a complete

20 copy of the unredacted and unsealed document in accordance with Civil L.R. 5-1(e).
21 III.     CONCLUSION

22          Plaintiffs, for the reasons set forth herein, hereby move the Court to consider whether those

23 portions of the filing described herein should remain conditionally under seal and in redacted form
24 pursuant to Google’s designation.
25
26 DATED: April 19, 2024                                 Respectfully submitted,

27                                                       PRITZKER LEVINE LLP

28                                                       By: /s/ Jonathan K. Levine


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                                                     -4-                       4:21-cv-02155-YGR-VKD
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     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIALS
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                                                     -5-                       4:21-cv-02155-YGR-VKD
